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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PENNSYLVANIA STATE                               No. 4:21-CV-01091
UNIVERSITY,
                                                     (Chief Judge Brann)
              Plaintiff,

       v.

VINTAGE BRAND, LLC;
SPORTSWEAR, INC., d/b/a PREP
SPORTSWEAR; and CHAD
HARTVIGSON,

             Defendants.

                           MEMORANDUM OPINION

                                NOVEMBER 4, 2024

      This trademark dispute has proceeded in due course and is now approaching

trial. Pursuant to this Court’s scheduling deadlines, the parties have filed a number

of pretrial motions. These motions primarily relate to the relatively mundane

requests for evidentiary rulings that form the basis of most motions in limine. But,

in certain instances, these motions seek to effectively strike defenses in a manner

perhaps more appropriately brought in a dispositive motion filed well in advance of

trial and with a more robust factual record placed before the Court. As discussed

below, while the evidence that may be presented at trial will be trimmed back, the

core of this case and the defenses presented—primarily relating to the question of

whether a trademark claim may lie, or whether consumers are confused, when
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consumers allegedly purchase goods bearing a protected mark for reasons unrelated

to source identification—may properly be presented to a jury.

I.      BACKGROUND

        In 2022, The Pennsylvania State University (“Penn State”) filed a second

amended complaint alleging that Vintage Brand, LLC, Sportwear, Inc., Chad

Hartvigson, Erik Hartvigson, and Michelle Young (collectively “Vintage Brand”)

alleging that Vintage Brand had: (1) willfully infringed on Penn State’s trademarks

in violation of 15 U.S.C. § 1114 (Count One);1 (2) sold and marketed counterfeit

products in violation of Sections 1114, 1116(d), and 1117 (Count Two);2 (3) unfairly

competed and falsely designated Penn State as the source of Vintage Brand’s

products in violation of Section 1125(a) (Count Three);3 (4) falsely advertised and

endorsed its products’ affiliation with Penn State in violation of Section 1125(a)

(Count Four);4 diluted Penn State’s trademarks in violation of Section 1125(c) and

54 Pa. C.S. § 1124 (Counts Five and Six, respectively);5 and (7) infringed on Penn

State’s common-law trademarks (Count Seven).6

        Much of the relevant history and the facts related to the underlying dispute

was outlined in some detail in this Court’s prior summary judgment Memorandum

1
     Doc. 67 ¶¶ 99-105. Specifically, Penn State alleges that Vintage Brand infringed on its PENN
     STATE, TPSU, Nittany Lion Logo, Pozniak Lion Logo, and Penn State Seal marks. Id.
2
     Id. ¶¶ 106-12.
3
     Id. ¶¶ 113-16.
4
     Id. ¶¶ 117-25.
5
     Id. ¶¶ 126-34 (Count Five), 135-40.
6
     Id. ¶¶ 141-45.

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Opinion addressing the competing motions for summary judgment and to exclude

certain expert opinions.7 Because most of this discussion is not directly relevant to

the pending motions in limine, those facts will not be repeated here.

        Based on the facts underlying this matter, in February 2024, this Court granted

in part and denied in part the parties’ competing motions for summary judgment;

granted Vintage Brand’s motion to exclude expert opinions while denying Penn

State’s motion to exclude expert opinions; and granted in part and denied in part

Vintage Brand’s motions to strike while granting in part and denying in part Penn

State’s motion to strike.8

        As to the expert opinions, as relevant here, this Court excluded Penn State’s

expert David Franklyn’s commercial impression survey (“Survey One”).9 The Court

determined that Survey One was not sufficiently reliable, as it was entirely novel

and therefore was not generally accepted, and lacked any known error rate or

standards by which to judge it.10 Moreover, the Court was concerned that Survey

One contained demand artifacts that primed respondents to see a trademark in the

survey questions, failed to adequately place the images used within a marketplace

context, and failed to use a proper control image.11 Vintage Brand did not seek to


7
     See Doc. 194. Rulings relevant to the motions in limine will be discussed in the body of this
     Memorandum Opinion.
8
     Docs. 194, 195.
9
     Doc. 194 at 20-33.
10
     Id. at 22-25.
11
     Id. at 25-32.

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exclude Franklyn’s likelihood of confusion survey (“Survey Two”) and the Court

denied Penn State’s motion to exclude a survey from Vintage Brand’s expert, Tülin

Erdem.12

        As to the motions for summary judgment, the Court first assessed Vintage

Brand’s motion.13 The Court found that genuine issues of material fact precluded

judgment as to Penn State’s statutory and common law trademark infringement

claims14 and Vintage Brand’s counterclaim seeking to cancel certain of Penn State’s

trademark registrations, but granted judgment in Vintage Brand’s favor with regard

to Penn State’s counterfeiting, dilution, false advertising, and false endorsement

claims. This Court denied summary judgment as to Vintage Brand’s counterclaim

seeking to cancel Penn State’s Seal Designs, since visual differences between Penn

State’s trademarks and the Pennsylvania Coat of Arms did not permit the conclusion,

as a matter of law, that the trademarks created an indistinct commercial impression.15

        More specifically, as to the claim of willful trademark infringement, this Court

determined that Penn State’s evidence created a genuine issue of material fact as to

whether its trademarks were merely ornamental, since Franklyn’s Survey Two

hinted that Penn State’s trademarks indicate that it is a secondary source of any



12
     Id. at 33-39.
13
     Id. at 51-93.
14
     The Court originally entered summary judgment as to Count Three, but later reinstated that
     claim. See id. at 85 n. 367; Doc. 212.
15
     Doc. 194 at 91-93.

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tangible goods.16 Nor did the evidence establish as a matter of law that Penn State’s

trademarks were merely aesthetically functional, since Penn State had met its low

burden of demonstrating a genuine dispute as to whether prohibiting Vintage Brand

from using Penn State trademarks would result in a significant non-reputational

disadvantage.17 Finally, a balancing of the relevant factors sufficiently demonstrated

a likelihood of confusion, such that summary judgment on the issue of willful

infringement was inappropriate.18

        However, the Court granted summary judgment in Vintage Brand’s favor with

regard to Penn State’s counterfeiting claim, since nothing in the record supported

the conclusion that Vintage Brand’s use of Penn State marks deceptively suggested

that Vintage Brand’s goods were in fact Penn State’s goods. 19 This Court also

granted summary judgment in Vintage Brand’s favor with respect to Penn State’s

dilution claim, as the images used by Vintage Brand were not substantially similar

to Penn State’s marks, and there was no evidence that Vintage Brand’s alleged use

of Penn State’s marks lessened the capacity of those marks to identify and

distinguish goods or services.20




16
     Id. at 53-64.
17
     Id. at 64-69.
18
     Id. at 69-75.
19
     Id. at 75-78.
20
     Id. at 78-85.

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        Lastly, the Court granted summary judgment in Vintage Brand’s favor as to

claims of false advertising and false endorsement. 21 Specifically, this Court

determined that there was no evidence that Vintage Brand had misrepresented the

characteristics of its goods as was needed to support a false advertising claim, and

further determined that Penn State’s false endorsement claim could not stand

independently, as it was merely a repackaged trademark infringement claim and

there was no evidence that Vintage Brand had used Penn State’s trademarks to

identify Vintage Brand’s goods or services.22

        The Court also granted in part and denied in part Penn State’s motion for

summary judgment.23 This Court denied the motion as to Penn State’s claims for

counterfeiting, false advertising, and false endorsement, as it had entered judgment

in Vintage Brand’s favor on those claims, and denied the motion as to its trademark

infringement claims because—as with Vintage Brand’s competing motion—genuine

issues of material fact with respect to whether there was a likelihood of confusion

prevented judgment in Penn State’s favor.24 It further denied Penn State’s motion

for summary judgment as to Vintage Brand’s counterclaims except as to Vintage




21
     Id. at 85-91.
22
     Id.
23
     Id. at 93-108.
24
     Id. at 94-101.

                                         6
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Brand’s ornamentality counterclaim and affirmative defenses as applied to any of

Penn State’s trademarks that are incontestable.25

        Following that decision, all that remains is a pending jury trial on Penn State’s

claims and Vintage Brand’s counterclaims. This matter is set for trial in November

2024 and, in accordance with this Court’s Scheduling Order, the parties have filed

their motions in limine.26

        In its motion in limine, Vintage Brand raises nine issues.27 Vintage Brand

asserts that Penn State should be precluded from: (1) introducing evidence or

argument related to Vintage Brand’s revenue and profits that are unrelated to Penn

State’s trademarks; (2) presenting evidence related to Vintage Brand’s other disputes

and lawsuits; (3) characterizing Vintage Brand’s products as counterfeit or

suggesting that it engages in counterfeiting; (4) introducing Wayback Machine

captures into evidence; (5) implying that money from any damages award would be

used to fund scholarships; (6) implying that Vintage Brand’s manufacturing process

utilizes unethical practices; (7) introducing lay opinion testimony about consumer

perceptions or recognition of Penn State’s trademarks; (8) arguing or implying that

images of clothing bearing the Pozniak Lion Design establish trademark rights; and

(9) asserting that the Pozniak Lion Design trademark is incontestable.28


25
     Id. at 102-08.
26
     Docs. 221, 223, 225, 227, 229, 231, 233, 235, 237, 239.
27
     Doc. 222.
28
     Id.

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        Penn State in turn also raises nine issues. It argues that Vintage Brand should

be prohibited from: (1) presenting an advice of counsel defense;29 (2) referencing

Jerry Sandusky or his crimes;30 (3) referencing Franklyn’s now-excluded Survey

One;31 (4) presenting legal testimony through lay witnesses;32 (5) arguing that any

of Penn State’s claims are barred by copyright law, specifically the concept of public

domain; 33 (6) offering any evidence or argument related to antitrust issues; 34 (7)

presenting testimony or evidence regarding an aesthetic functionality defense;35 and

(8) introducing evidence or argument related to dismissed claims or defenses, or that

its actions are protected by the First Amendment to the United States Constitution.36

Penn State also seeks to strike Vintage Brand’s aesthetic functionality defense.37

        As explained below, Vintage Brand’s motions in limine will be granted in part

and denied in part, while Penn State’s motions in limine will likewise be granted in

part and denied in part. Penn State’s motion to strike will be denied.




29
     Docs. 223, 224.
30
     Docs. 227, 228.
31
     Docs. 229, 230.
32
     Docs. 231, 232.
33
     Docs. 233, 234.
34
     Docs. 235, 236.
35
     Docs. 237, 238.
36
     Doc. 239.
37
     Docs. 225, 226.

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II.      DISCUSSION

         Courts exercise discretion to rule in limine on evidentiary issues “in

appropriate cases.”38 While motions in limine may serve as a useful pretrial tool that

enable more in-depth briefing than would be available at trial, a court may defer

ruling on such motions “if the context of trial would provide clarity.”39 “[M]otions

in limine often present issues for which final decision is best reserved for a specific

trial situation.” 40 Thus, certain motions, “especially ones that encompass broad

classes of evidence, should generally be deferred until trial to allow for the resolution

of questions of foundation, relevancy, and potential prejudice in proper context.”41

Specifically, “pretrial Rule 403 exclusions should rarely be granted . . . a court

cannot fairly ascertain the potential relevance of evidence for Rule 403 purposes

until it has a full record relevant to the putatively objectionable evidence.” 42

Regardless, “in limine rulings are not binding on the trial judge, and the judge may

always change his mind during the course of a trial.”43




38
      In re Japanese Elec. Prods. Antitrust Litig., 723 F.2d 238, 260 (3d Cir. 1983), rev’d on other
      grounds sub nom. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986).
39
      Frintner v. TruePosition, 892 F.Supp.2d 699, 707 (E.D. Pa. 2012).
40
      Walden v. Georgia-Pacific Corp., 126 F.3d 506, 518 n.10 (3d Cir. 1997).
41
      Leonard v. Stemetech Health Scis., Inc., 981 F. Supp. 2d 273, 276 (D. Del. 2013).
42
      In re Paoli R.R. Yard PCB Litig., 916 F.2d 829, 859 (3d Cir. 1990).
43
      Ohler v. United States, 529 U.S. 753, 758 n.3 (2000).

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        A.     Vintage Brand’s Motion in Limine

               1.        Evidence Related to Vintage Brand’s Profits and Revenues
                         Unrelated to Alleged Infringement

        Vintage Brand first argues that Penn State should be precluded from

introducing evidence related to Vintage Brand’s profits or revenues that are

unrelated to any alleged infringement upon Penn State’s trademarks. 44 Vintage

Brand contends that such evidence is irrelevant to any potential calculation of

damages under the Lanham Act, as only revenue derived from infringing conduct is

incorporated into such calculations.45 Penn State concedes it may not affirmatively

offer such evidence, but responds that any ruling should be deferred until trial, as it

may introduce evidence related to Vintage Brand’s other profits and revenues should

Vintage Brand open the door to the admission of such evidence.46

        The Court agrees that evidence of Vintage Brand’s revenue and profits that

are wholly unrelated to any alleged infringing conduct is irrelevant to this case and

will grant the motion in limine. Penn State will be prohibited from introducing such

evidence at trial. However, Penn State’s concerns are well considered, and Penn

State may move for reconsideration of this ruling at trial should it believe Vintage

Brand has opened the door to the admission of such evidence.




44
     Doc. 222 at 9-11.
45
     Id.
46
     Doc. 240 at 7.

                                           10
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               2.         Evidence Related to Vintage Brand’s Other Lawsuits and
                          Disputes

        Vintage Brand next argues that Penn State should be precluded from

introducing evidence related to other trademark lawsuits against Vintage Brand or

other similar disputes, as any possible relevance is substantially outweighed by the

danger of unfair prejudice, confusion of the issues, potential undue delay, and

wasting of time.47 Penn State asserts that the evidence is relevant to Vintage Brand’s

intent, which is important in determining likelihood of confusion, willfulness, and

an intent to confuse or deceive with respect to any disgorgement analysis; in that

vein Vintage Brand’s “prior adverse litigation experience” is relevant to intent since

it indicates both a lack of good faith and that Penn State knew its conduct infringed

on trademarks but failed to act differently.48

        The Federal Rules of Evidence provide that evidence is relevant and generally

admissible if “it has any tendency to make a fact more or less probable than it would

be without the evidence” and “is of consequence in determining the action.” 49

However, even relevant evidence may be excluded “if its probative value is

substantially outweighed by a danger of one or more of the following: unfair




47
     Doc. 222 at 11-12.
48
     Doc. 240 at 8-13.
49
     Fed. R. Evid. 401.

                                            11
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prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

needlessly presenting cumulative evidence.”50

        In the abstract, prior lawsuits or other disputes involving a defendant that

allege trademark infringement—such as cease and desist letters—may be relevant to

intent.51 But every case is unique, and the circumstances surrounding every alleged

trademark infringement are unique. Here, several factors reduce the potential

relevance of prior matters involving Vintage Brand and lead this Court to conclude

that any possible relevance is substantially outweighed by dangers such as unfair

prejudice, confusing the issues, and causing undue delay and wasting time.

        Notably, two of the cases to which Penn State cites—the only two that Penn

State points to as having final judgments of any sort—come from the United States

Courts of Appeals for the Fifth and Eleventh Circuits, both of which employ the per

se approach to trademark infringement adopted in Boston Professional Hockey

Association v. Dallas Cap & Emblem Manufacturing 52 whereby trademarks are

protected if they create only a mental association between the trademark and the

trademark holder, even if consumers do not believe the trademark holder had




50
     Fed. R. Evid. 403.
51
     See Doc. 240 at 10-11 (collecting cases).
52
     510 F.2d 1004 (5th Cir. 1975).

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manufactured or sponsored the product; that approach was specifically rejected by

this Court.53

        Significant differences in legal standards with regard to trademark

infringement would obviously play a large role in any determination of liability—or

in a party’s willingness to settle—since, as this Court noted previously, under the

per se approach Vintage Brand would likely have been successful in dismissing Penn

State’s counterclaims.54 More importantly, however, such legal differences would

have a significant impact on any party’s understanding of whether their conduct is

infringing to begin with. Under the per se standard employed by other courts,

Vintage Brand’s conduct may well infringe whereas, under the standard adopted by

this Court, Vintage Brand could reasonably believe that its conduct is legally proper.

Therefore, even direct proof that Vintage Brand understood its conduct to be

infringing in other circuits does not necessarily bear on whether Vintage Brand knew

that its conduct was infringing here.

        Moreover, each alleged act of infringement is factually unique, which would

further diminish the relevance of other lawsuits or disputes as related to Vintage



53
     Compare id. (formulating approach) and Savannah Coll. of Art & Design, Inc. v. Sportswear,
     Inc., 872 F.3d 1256, 1258-59 (11th Cir. 2017) (noting that Boston Hockey is “binding precedent
     that [the Eleventh Circuit is] bound to follow”—even if the actual application in that case
     appears to leave some daylight between the Eleventh Circuit and the Boston Hockey standard),
     with Doc. 43 at 8-17 (discussing and rejecting per se approach) and Doc. 194 at 58-59 (adopting
     fact-intensive approach that aims to identify whether use of a mark create confusion as to
     whether trademark holder approved or sponsored the tangible goods bear those marks).
54
     Doc. 43 at 10.

                                                 13
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Brand’s willfulness. Factual questions relevant to each alleged act of infringement

include issues such as, for example, whether the infringement involved composite

images or direct use of trademarks, whether the defendant conducted research into

whether images were trademarked, or whether any trademarks had obtained

indisputable status. This would necessitate an examination of the underlying cases,

conduct, and trademarks to determine whether the conduct there was similar to

Vintage Brand’s conduct in this matter, which would not only have the potential to

confuse the jury, but would undoubtedly waste significant amounts of time.55

        Finally, introducing evidence of those other disputes “would prejudice the

jury, as it would have the effect of painting [Defendants] as serial trademark

infringers—even if the prior lawsuits were not resolved on their merits or with any

finding of liability.”56 Because the relevance—if any—of other lawsuits or disputes

involving Vintage Brand is significantly outweighed by the danger of unfair

prejudice, confusing the issues, misleading the jury, and wasting time, the Court will

grant Vintage Brand’s motion. However, this Court is amenable to reexamining this

ruling at a later date should Penn State demonstrate a closer factual nexus between

Vintage Brand’s conduct here and its conduct in those other cases.


55
     Moreover, it would need to be determined when these cases arose and when Vintage Brand
     was placed on notice that its conduct was potentially infringing. Several of the cases cited by
     Penn State appear to have arisen after Vintage Brand asserts that it ceased selling Penn State
     themed goods. See Doc. 240-2 at 2-3.
56
     Avco Corp. v. Turn & Bank Holdings, LLC, No. 4:12-CV-01313, 2022 WL 3970830, at *7
     (M.D. Pa. Aug. 31, 2022).

                                                 14
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               3.         Reference or Characterization of Vintage Brand’s Product
                          as Counterfeit or its Conduct as Counterfeiting

        Vintage Brand next contends that Penn State should be prohibited from

arguing or presenting evidence that suggests Vintage Brand’s products are

counterfeit, or that it is engaged in counterfeiting.57 Penn State in turns asserts that

the motion should be denied as moot, since it agrees that it will not characterize

Vintage Brand’s merchandise as counterfeit or its conduct as counterfeiting.58

        The Court agrees that evidence or argument suggesting that Vintage Brand’s

products are counterfeit or that it is engaging in counterfeiting is inadmissible, and

Penn State is prohibited from introducing such evidence or argument at trial. To the

extent that Penn State believes it has relevant testimony or evidence that skirts this

line, it may seek clarification of the scope of this Order at trial.

               4.         Wayback Machine Captures

        Vintage Brand further seeks to exclude Penn State’s Wayback Machine

captures because, Vintage Brand argues, those captures cannot be authenticated at

trial.59 Specifically, Vintage Brand asserts that the captures must be authenticated by

an Internet Archive employee and, here, Penn State’s attempt to authenticate the

captures through a declaration is improper since: (1) the captures do not produce an

accurate result as demonstrated by Internet Archive’s disclaimer, errors in the pages


57
     Doc. 222 at 13-14.
58
     Doc. 240 at 13-14.
59
     Doc. 222 at 15-20.

                                            15
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captured, and no postdates or estimated postdates; and (2) any authentication would

go to the captures themselves, not the accuracy of the contents of the webpages

depicted, which is why Penn State seeks to admit those captures.60

        Penn State argues that it will authenticate the Wayback Machine captures by

way of an affidavit from an Internet Archive employee.61 It asserts that an affidavit

is adequate if the employee providing the affidavit has sufficient personal knowledge

and if, as here, there is no basis upon which to question the accuracy of the captures

themselves.62

        Federal Rule of Evidence 902 provides that certain evidence is self-

authenticating including, as relevant here, any “record generated by an electronic

process or system that produces an accurate result, as shown by a certification of a

qualified person that complies with [the relevant] certification requirements.”63 In

keeping with those requirements, the parties agree that Wayback Machine captures

are not admissible unless authenticated by an Internet Archive employee.64

        To authenticate the Wayback Machine captures, Penn State has submitted an

affidavit—submitted under penalty of perjury—from Nathaniel E. Frank-White, a

records request processor at the Internet Archive. 65 Frank-White states that the


60
     Id.
61
     Doc. 240 at 14-15.
62
     Id. at 15-17.
63
     Fed. R. Evid. 902(13).
64
     Doc. 222 at 16; Doc. 240 at 14-15.
65
     Doc. 240-6.

                                             16
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Wayback Machine “makes it possible to browse more than 450 billion pages stored

in the Internet Archive’s web archive” all of which may be searched by URL.66 The

data that is accessible via the Wayback Machine “is obtained by use of web archiving

software that automatically stores copies of files available via the Internet, each file

preserved as it existed at a particular point in time.”67 In addition to explaining the

Wayback Machine’s naming convention, Frank-White attests that the captures Penn

State seeks to enter into evidence “are true and accurate copies of screenshots of the

Internet Archive’s records of the archived files for the URLs and the dates specified

in the attached coversheet of each printout.”68

        Based on the contents of Frank-White’s statement provided by Penn State, the

Court must agree with Vintage Brand that the affidavit is insufficient to meet the

requirements of Rule 902 and, therefore, is no proper substitute for live testimony.

Notably, other than stating that “each file [is] preserved as it existed at a particular

point in time,”69 Frank-White’s affidavit provides scant information upon which this

Court may conclude that the Wayback Machine “produces an accurate result.”70 The

affidavit does not explain, for example, how the screenshots are captured, whether

there are any known error rates in the process of capturing webpages, or whether the



66
     Id. at 2.
67
     Id.
68
     Id.
69
     Id.
70
     Fed. R. Evid. 902(13).

                                          17
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Internet Archive does anything to ensure or check the accuracy of any captures.71 In

essence, Frank-White’s affidavit sufficiently attests that the proposed exhibits are

accurate depictions of what is contained on the Wayback Machine, but does not

adequately attest that what is contained on the Wayback Machine is accurate.72

        Because Frank-White’s affidavit is insufficient to establish the accuracy of the

Wayback Machine captures, the attached exhibits are not self-authenticating under

Rule 902(13). 73 Consequently, based on the information available to the Court,

Vintage Brand’s motion to exclude the Wayback Machine captures is granted.

However, this is without prejudice to Penn State’s ability to introduce evidence of

the Wayback Machine captures should it introduce live testimony to authenticate



71
     See, e.g., Magee v. Noe, No. 2:20CV183-HSO-MTP, 2023 WL 116349, at *6 (S.D. Miss. Jan.
     5, 2023) (affiant must speak “to the accuracy of the . . . process or system, which is necessary
     in order for the records generated by such an electronic process or system to be self-
     authenticating”).
72
     Vintage Brand further argues that Frank-White may only authenticate the exhibits as to the
     accuracy of the Wayback Machine captures, but cannot authenticate the substance of those
     captures—i.e., that Vintage Brand was selling Penn State branded merchandise. Doc. 222 at
     19-20. Because the affidavit submitted is insufficient to authenticate the Wayback Machine
     captures for any purpose, the Court will not definitively address this argument here. But
     testimony from an Internet Archive employee that sufficient discusses the accuracy of the
     Wayback Machine captures themselves—assuming Internet Archive is able to provide such
     testimony—would more than likely adequately demonstrate the accuracy of the underlying
     content as well. In any event, given the purpose for which the captures are offered, it is—at the
     least—questionable whether those captures may be admitted pursuant to Rule 902(11). See
     United States v. Browne, 834 F.3d 403, 409-11 (3d Cir. 2016).
73
     Penn State makes passing reference to admissibility under Rules 803(6) and 902(11), Doc. 240
     at 15, but it does not actually argue admissibility under that subsection. See id. at 14-17. And
     is it not clear from Frank-White’s affidavit that the Wayback Machine captures were “made at
     or near the time [of the relevant event] by—or from information transmitted by—someone
     with knowledge.” Fed. R. Evid. 803(6)(A); see id. at 902(11) (requiring that records submitted
     pursuant to Rule 902(11) also meet the requirements of Rule 803(6)). The Court therefore
     cannot conclude that the captures are admissible under § 902(11).

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those captures at trial, or authenticate the captures through an affidavit that

adequately complies with Rule 902(13).

                5.     Evidence that Licensing Revenue Funds Scholarships

        Vintage Brand next asserts that Penn State should be precluded from arguing

or presenting evidence that some portion of its licensing revenue funds student

scholarships, as this would imply that a monetary award would be used in the same

way and thereby influence the jury to find in Penn State’s favor not based on the

evidence, but because of altruistic motives.74 Penn State responds that such evidence

is relevant to the strength of its marks and to the public interest served by making

Vintage Brand’s alleged misconduct unprofitable.75

        As an initial matter, contrary to Vintage Brand’s arguments, the Court is

unable to discern any identifiable prejudice that would result from the introduction

of this evidence. However, potential prejudice does not come into play because the

Court is likewise unable to discern any relevance to this evidence.

        First, the Court rejects Vintage Brand’s argument that such information is

relevant to the strength of its marks. As the Third Circuit has explained, the “strength

of a mark is determined by (1) the distinctiveness or conceptual strength of the mark

and (2) its commercial strength or marketplace recognition.”76 As this demonstrates,



74
     Doc. 222 at 20.
75
     Doc. 240 at 17-18.
76
     Checkpoint Sys., Inc. v. Check Point Software Techs., Inc., 269 F.3d 270, 282 (3d Cir. 2001).

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the strength of a mark depends entirely on the recognition of the mark itself (or its

distinctiveness), not broadly on the fact that individuals know of Penn State’s

trademarks or that its trademark licensing revenue is used to fund scholarships.

        Second, while such information may be relevant to the issue of whether to

disgorge profits, it is well established that any determination related to disgorgement

is reserved to courts, not juries.77 Therefore, while this information may be relevant

to a disgorgement determination, it need not be presented to the jury, since the jury

will not make any decision regarding disgorgement. 78 Because the Court cannot

discern any relevance of information regarding the use of trademark licensing

revenue for scholarship funds, Vintage Brand’s motion will be granted, and Penn

State will be prohibited from making reference to, or presenting evidence in support

of, this fact.

                 6.    Evidence that Vintage Brand Engages in Unethical Practices

        Next, Vintage Brand argues that the Court should bar Penn State from

presenting evidence related to corporate responsibility standards imposed on Penn

State’s licensees with regard to the manufacturing process, as such evidence is

irrelevant and would falsely imply that Vintage Brand engages in unethical



77
     Kars 4 Kids Inc. v. Am. Can!, 8 F.4th 209, 217 (3d Cir. 2021). Cf. Donlin v. Philips Lighting
     N. Am. Corp., 581 F.3d 73, 78 n.1 (3d Cir. 2009) (noting that “equitable remedies [are] to be
     determined by the court”).
78
     In any event, the parties have stipulated to the amount of disgorgement damages that should
     be awarded in the event of a jury verdict in favor of Penn State. See Doc. 269 at 30-31.

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practices. 79 Penn State agrees that it will not argue that Vintage Brand’s

manufacturing process is unethical, but maintains that standards for its licensees is

relevant to the validity of its trademarks and the strength of those marks.80

        The Court cannot conclude at this time that evidence related to the standards

imposed upon Penn State’s licensees is entirely irrelevant. Specifically, both parties

agree that a company’s control over the manufacturing process of goods that bear

the relevant trademark symbols may be relevant to the question of whether a

trademark is valid.81 Here, Penn State’s manufacturing requirements arguably apply

to the quality of the goods at issue and consumer views of those goods. Although the

relevance is somewhat fuzzy, it is not clear at this time that there is not possible basis

for the admission of that evidence.

        Nor is any prejudice related to this evidence apparent to the Court. Although

Vintage Brand argues that this testimony or evidence will only serve to imply that

Vintage Brand somehow does not follow similar standards and engages in unethical

practices, that connections is far from intuitive. To the extent that Vintage Brand

feels that it is necessary, it may counter any such inference by presenting testimony

regard its manufacturing practices.



79
     Doc. 222 at 21-22.
80
     Doc. 240 at 18-20.
81
     See Doc. 240 at 19 (citing BIEC Int’l, Inc. v. Glob. Steel Servs., Ltd., 791 F. Supp. 489, 533
     (E.D. Pa. 1992)); Doc. 250 at 21 (citing Angelo Bros. Co. v. A&H Co., 1996 WL 571720, at
     *5 (E.D. Pa. Oct. 7, 1996)).

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        Consequently, Vintage Brand’s motion in limine will be granted in part and

denied in part. It is granted to the extent that Penn State is prohibited from stating or

directly inferring that Vintage Brand engages in unethical manufacturing processes.

It is denied without prejudice to the extent that Vintage Brand seeks to prohibit Penn

State from referencing its own manufacturing controls. The Court may revisit this

issue at trial upon proper motion from Vintage Brand should the testimony or

evidence presented support Vintage Brand’s contention that the evidence is

irrelevant.

               7.         Lay Testimony Regarding Consumer             Perception     or
                          Recognition of Penn State Trademarks

        Vintage Brand next seeks to exclude any testimony from lay witnesses related

to consumer beliefs and perceptions about Penn State’s marks, the quality of the

goods bearing those marks, or their recognition of the Penn State marks.82 Any such

testimony, Vintage Brand argues, goes beyond the personal knowledge of a lay

witness.83 Penn State asserts that it “has no intention of violating these rules” related

to expert testimony, but that any ruling on the matter would be premature at this

stage and could be vague to the point of incomprehensibility.84




82
     Doc. 222 at 22-23.
83
     Id.
84
     Doc. 240 at 20-21.

                                           22
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        In accordance with the Court’s prior ruling on this type of testimony,85 Penn

State may not present lay witness testimony related to consumer beliefs and

perceptions about Penn State’s trademarks, the quality of the goods bearing those

marks, or consumer recognition of Penn State’s trademarks. Contrary to Vintage

Brand’s protestations, the Court does not believe there will be any significant

confusion about what testimony reasonably falls outside of this prohibition. And, to

the extent there are any close questions regarding whether testimony may fall afoul

of this ruling, there will be ample opportunity to address that during trial.

               8.         Clothing Bearing Pozniak Lion Design

        Vintage Brand also contends that Penn State should be prohibited from

arguing or implying that certain clothing articles bearing the Pozniak Lion design

establish Penn State’s trademark rights in that design, as those articles do not show

use in commerce.86 Specifically, Vintage Brand asserts that the Pozniak Lion design

has only been used in connection with the Nittany Lion Wrestling Club, the Lion

Ambassadors, and a license plate program, and none of the goods offered through

those programs were sold in the marketplace, as is required to establish a valid

trademark.87




85
     Doc. 194 at 41-42.
86
     Doc. 222 at 23-27.
87
     Id.

                                            23
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        Penn State argues that it can demonstrate at trial that goods bearing the

Pozniak Lion design were transported and sold in commerce—even if they were not

sold to the general public—and, in any event, goods may be used in commerce even

if not sold.88 Consequently, it asserts that Vintage Brand’s motion should be denied.

        While Vintage Brand is correct that, as a general matter, “bald attorney

argument is insufficient to oppose a motion in limine,”89 here attorney argument is

not being offered to support an assertion of fact. Rather, Penn State is merely

forecasting that certain evidence will be presented at trial that will demonstrate

goods bearing the Pozniak Lion design have been sold in commerce.90 Evidence of

clothing bearing the Pozniak Lion design would plainly be relevant if those goods

were sold in commerce. Mindful that a motion in limine should be granted “only

when the evidence is clearly inadmissible on all potential grounds,”91 and consistent

with this Court’s practice,92 the Court will defer any ruling on this motion pending

Penn State’s ability to establish at trial that goods bearing the Pozniak Lion were

sold in commerce.93



88
     Doc. 240 at 21-23.
89
     Doc. 250 at 24.
90
     Doc. 240 at 22.
91
     United States v. Tartaglione, 228 F. Supp. 3d 402, 406 (E.D. Pa. 2017).
92
     See Doc. 194 at 44-45.
93
     Although Vintage Brand argues that Penn State’s Rule 30(b)(6) representative provided
     testimony that contradicts any assertion that such goods were sold in commerce, Doc. 250 at
     24, the testimony does not foreclose such a possibility, as the representative testified only that
     he did not know if goods bearing the Pozniak Lion design were sold for money. Doc. 116-28
     at 57-58.

                                                  24
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               9.         Incontestability of Pozniak Lion Design Registration

        Lastly, Vintage Brand contends that Penn State should be precluded from

asserting at trial that the Pozniak Lion design had achieved incontestable trademark

status.94 Vintage Brand argues that Penn State’s application for incontestable status

is null because, by the time it filed an application seeking such status, Vintage Brand

had already pled affirmative defenses in this matter challenging the validity of those

registrations, thereby preventing incontestable status; this is so because a finding in

Vintage Brand’s favor would collaterally estop Penn State from opposing

cancellation in a subsequent proceeding. 95 Vintage Brand’s seventh affirmative

defense provides:

        Penn State’s claims are barred and/or limited where Penn State’s
        application of the text and designs described in the Second Amended
        Complaint to merchandise is merely ornamental and does not engender
        the commercial impression of a source identifying trademark.96

        Penn State responds that its Pozniak Lion registration has achieved

incontestable status, as there were no pending claims or counterclaims at the time it

filed its application for incontestability and Vintage Brand’s affirmative defenses do

not qualify as a proceeding sufficient to prevent incontestability. 97 Even if the

affirmative defenses could qualify as a relevant proceeding, Penn State asserts that



94
     Doc. 222 at 27-30.
95
     Id.
96
     Doc. 72 at 40.
97
     Doc. 240 at 23-24.

                                             25
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the affirmative defenses challenge only particular uses of the Pozniak Lion design

and therefore does not challenge the validity of the registration itself.98 Moreover,

Penn State contends that Vintage Brand’s own conduct in this and other proceedings

demonstrates that it does not seek cancellation of the Pozniak Lion registration.99

       The Lanham Act provides that a trademark may achieve incontestable status

after a party submits an affidavit to the United States Patent and Trademark Office

(“USPTO”) attesting that, at the time the affidavit is submitted: (1) “there has been

no final decision adverse to the owner’s claim of ownership of such mark for such

goods or services, or to the owner’s right to register the same or to keep the same on

the register”; (2) “there is no proceeding involving said rights pending in the United

States Patent and Trademark Office or in a court and not finally disposed of”; and

(3) the trademark “has been in continuous use for such five consecutive years and is

still in use in commerce.”100

       Penn State filed an affidavit with the USPTO, at the earliest, on June 9, 2023

attempting to secure incontestable status for its trademarks bearing the Pozniak Lion

design.101 There is no dispute that the trademark (and the affidavit submitted by Penn

State) meet the requirements for incontestability save for one: whether there was a

pending proceeding involving said rights at the time that Penn State filed its


98
    Id. at 25.
99
    Id. at 25-26.
100
    15 U.S.C. § 1065.
101
    Doc. 222-3. But see Doc. 222-4 (resubmitted affidavit dated January 3, 2024).

                                               26
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affidavit. Specifically, the parties contest whether Vintage Brand’s seventh

affirmative defense—which was filed in this case prior to Penn State having filed

any affidavits with the USPTO 102 and not resolved prior thereto—qualifies as a

“proceeding involving said rights” such that the affirmative defense precludes those

trademarks from achieving incontestable status.

       There are conflicting interpretations of the phrase “proceeding involving said

rights.” The USPTO has “does not consider a proceeding involving the mark in

which the owner is the plaintiff, where there is no counterclaim involving the

owner’s rights in the mark, to be a ‘proceeding involving these rights’ that would

preclude the filing or acknowledgment of” an affidavit in support of

incontestability.103 Relying on that language, one district court has held, without

examining the underlying statutory language, that an affirmative defense does not

qualify as a relevant proceeding sufficient to undermine an application for

incontestable status.104

       But that determination, not to mention the USPTO’s interpretation, does not

align with a plain reading of 15 U.S.C. § 1065(2), which references broadly a

“proceeding involving said rights” pending in any court that has not been “finally

disposed of.” An affirmative defense challenging the validity of a trademark


102
    Doc. 72.
103
    TMEP § 1605.04 (8th ed. Oct. 2011, May 2024 revision).
104
    Marrero Enterprises of Palm Beach, Inc. v. Estefan Enterprises, Inc., No. 06-81036-CIV,
    2008 WL 11412087, at *6 (S.D. Fla. Dec. 16, 2008).

                                            27
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certainly involves a party’s rights in that trademark, and a successful affirmative

defense here could mean that Penn State’s trademarks bearing the Pozniak Lion

design are invalid, or at least that Vintage Brand’s use of those marks is not

infringing. As the USPTO has repeatedly stated, to “the extent that a civil action in

a Federal district court involves issues in common with those in a proceeding before

the [USPTO], the decision of the Federal district court is binding upon the

[USPTO],”105 meaning a finding in Vintage Brand’s favor would have preclusive

effect before the USPTO.

       In British Broadcasting Corporation v. Scott Stander & Associates, Inc., the

United States District Court for the Central District of California assessed whether a

mark was incontestable when there was, at the time the application for incontestable

status was filed, a pending “affirmative defense that [asserted] plaintiffs are not the

rightful owners of any trademarks or rights to trademarks.”106 That court determined

that, regardless of the fact that the challenge was brought in an affirmative defense,

the defendants had “challenged plaintiffs' ownership and rights to the word mark in

a pending proceeding,” meaning the relevant trademark had not achieved

incontestable status.107



105
    Danelli v. Beata Music LLC, No. 91249965, 2024 WL 1404967, at *17 (TTAB Mar. 29,
    2024) (citing DaimlerChrysler Corp. v. Maydak, 86 USPQ2d 1945 (TTAB 2008)).
106
    No. CV 14-8047 FMO (EX), 2017 WL 11682913, at *6 (C.D. Cal. Mar. 17, 2017) (internal
    quotation marks omitted).
107
    Id.

                                          28
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       And in Holley Performance Products, Inc. v. Quick Fuel Technology, Inc., the

United States District Court for the Western District of Kentucky rejected a literal

interpretation of the USPTO’s language holding that a proceeding in court does not

qualify under § 1065(2) unless there is a counterclaim involved.108 Instead that court

registered its doubt that the USPTO’s “use of the term ‘counterclaim’ is meant to

privilege form over substance” and noted that another court had construed an

affirmative defense as a counterclaim under the USPTO’s definition.109

       These decisions follow a more natural reading of the plain language of

§ 1065(2) and are in accord with what would appear to be the basic reason for having

that rule: to prevent conflicting decisions from courts and the USPTO, particularly

since any court decision would be binding on the USPTO. Consequently, the Court

concludes that an affirmative defense is sufficient to preclude incontestability while

that affirmative defense remains unresolved in federal court, as was the case here.

       Penn State nevertheless argues that Vintage Brand’s seventh affirmative

defense is insufficient to preclude incontestability status because it challenges only

particular uses of the Pozniak Lion marks, not their validity.110 But as Penn State

itself has previously observed, Vintage Brand’s affirmative defense, asserting that



108
    624 F. Supp. 2d 610, 615-16 (W.D. Ky. 2008).
109
    Id. at 616. In Holley, all that was pending at the time the affidavit in support of an application
    for incontestable status was an answer denying an allegation, which the court found insufficient
    under § 1065(2). Id.
110
    Doc. 240 at 25.

                                                 29
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the marks are merely ornamental, “an affirmative defense on the issue of

invalidity.”111 Because Vintage Brand’s affirmative defense is “adverse to the [Penn

State’s] claim of ownership of [the Pozniak Lion] mark for such goods or

services”112 it qualifies as a proceeding under § 1065.113

       Consequently, the Court concludes that Vintage Brand’s seventh affirmative

defense is sufficiently adverse to Penn State’s claim of ownership in the Pozniak

Lion design such that it qualifies as a proceeding that precludes (at least temporarily)

Penn State from obtaining incontestability status for the Pozniak Lion design.

Vintage Brand’s motion in limine will therefore be granted, and Penn State will be

prohibited from arguing at trial that its registrations involving the Pozniak Lion

design have achieved incontestable status.

       B.      Penn States’s Motions in Limine

               1.      Advice of Counsel

       Penn State in its first motion in limine argues that any evidence related to

advice provided to Vintage Brand by its attorneys should be excluded. 114

Specifically, Penn State argues that, since none of the advice provided by counsel



111
    Doc. 203 at 3-4. There is no reason why a party may not challenge both the validity of a mark
    and whether its use of that mark is infringing.
112
    15 U.S.C. § 1065(1).
113
    Penn State further argues that Vintage Brand could have directly challenged the validity of the
    Pozniak Lion marks in different ways but opted not to do so. Doc. 240 at 25-26. That Vintage
    Brand could have challenged the validity of the marks in other ways, but did not, is not relevant
    to whether they challenge it by way of an affirmative defense.
114
    Docs. 223, 224.

                                                 30
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was disclosed during discovery, not only is Vintage Brand unable to meet the

requirements to present an advice of counsel defense, but any such advice would be

hearsay, irrelevant, and unduly prejudicial.115

       Vintage Brand concedes that it will not present an advice of counsel defense,

but asserts that Penn State’s motion is too broad.116 Vintage Brand notes that, while

it “would not be permitted to detail or describe any legal advice” it receive or “claim

reliance upon that advice,” it should be permitted to generally rebut any inference

that it never obtained legal advice, and should be allowed to offer testimony as to

beliefs regarding the use of the images at issue.117

       The Court agrees that evidence of advice provided by counsel is inadmissible

and will therefore grant the motion in limine; Vintage Brand will be prohibited from

introducing such evidence at trial. Vintage Brand may, of course, move for

reconsideration of this ruling at trial should it believe Penn State has opened the door

to the admission of such evidence, or may seek clarification at the time of trial should

it believe that pertinent evidence may skirt the line of this prohibition.

               2.      Evidence Related to Jerry Sandusky

       Second, Penn State seeks an Order precluding Vintage Brand from

referencing Jerry Sandusky or his sexual abuse crimes, as such evidence would be



115
    Doc. 224 at 4-8.
116
    Doc. 241.
117
    Id. at 2.

                                           31
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irrelevant and unduly prejudicial. 118 Similar to the motion in limine addressing

advice of counsel, Vintage Brand again agrees that this evidence is inadmissible, but

asserts that it should be permitted to introduce such evidence should Penn State open

the door by providing evidence related to its good reputation and character outside

of the context of trademark recognition and strength.119

       Penn State’s motion in limine will be granted and Vintage Brand prohibited

from introducing this evidence at trial. Should Vintage Brand believe that Penn State

has in some way opened the door to the admission of this evidence at trial, it may

seek to revisit this ruling at that time.

               3.      Reference to Franklyn’s Survey One

       In the next motion in limine, Penn State contends the Vintage Brand should

be prohibited from introducing evidence or testimony related to Franklyn’s Survey

One, as that survey has been excluded by this Court.120 It argues that Vintage Brand’s

experts should not be permitted to provide their opinions of the survey, as their

rebuttal opinions are no longer relevant in light of the exclusion of that survey, and

any probative value is substantially outweighed by the risk of unfair prejudice,

confusing the issues, and wasting time.121 It further argues that Franklyn should not

be impeached based on this excluded survey either, as Penn State has not had the


118
    Docs. 227, 228.
119
    Doc. 242.
120
    Docs. 229, 230.
121
    Doc. 230 at 3-5.

                                            32
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opportunity to appeal that decision, and introduction of that exclusion may cause the

jury to believe that the Court finds Franklyn incredible, and therefore discredit

Franklyn’s Survey Two on that basis alone.122

       Vintage Brand in response argues that, although Survey One is not relevant

or admissible and should not be rebutted by its experts, Vintage Brand may need to

rebut the survey at trial in what Vintage Brand acknowledges are the “[im]probable”

scenarios where Penn State violates the exclusion order or there are inconsistencies

between Franklyn’s work on Survey One and Survey Two.123 Vintage Brand also

asserts that it should be permitted to reference the exclusion of Survey One as it

bears on Franklyn’s credibility as an expert.124

       First, this Court agrees with the parties that any testimony or evidence seeking

to rebut Franklyn’s Survey One is irrelevant. While Vintage Brand argues that it may

need to rebut Survey One in certain improbable scenarios, that alone is an

insufficient basis upon which to deny the pending motion. Should any scenario arise

that would make rebuttal testimony relevant, Vintage Brand may seek an alteration

to this ruling at that time. But until then, Vintage Brand is prohibited from

introducing any testimony or evidence that seeks to rebut Survey One.




122
    Id. at 5-6.
123
    Doc. 243 at 4; see id. at 3-4.
124
    Id. at 4-9.

                                            33
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         Second, contrary to Vintage Brand’s position, any relevance to Franklyn’s

credibility based on the exclusion of Survey One would be substantially outweighed

by the danger of unfair prejudice and confusing the jury. As other courts have noted,

there “is too much of a risk that the jury will give the Court’s prior Daubert order

undue weight given that it is an order by the same Court that will preside over the

trial.”125 There is a significant danger that the jury will believe that, because one of

Franklyn’s surveys was excluded by the Judge in this matter, his other survey must

also be discounted—without actually examining the content of the survey to

conclude for themselves whether it is entitled to any weight. 126 Vintage Brand

therefore may not reference Franklyn’s Survey One for the purpose of impeaching

his credibility.

         Accordingly, the Court will grant Penn State’s motion in limine in its entirety.

Vintage Brand will be prohibited from referencing Franklyn’s Survey One during

trial.

               4.     Legal Testimony from Lay Witnesses

         Next, Penn State seeks the preclusion of any lay testimony related to the

law.127 Penn States raises concerns that Chad Hartvigson will improperly offer legal


125
    Vaporstream, Inc. v. Snap Inc., No. 217CV00220MLHKSX, 2020 WL 978731, at *10 (C.D.
    Cal. Feb. 28, 2020).
126
    This is particularly so where the Court was not asked to determine whether Franklyn’s Survey
    Two was excludable under Daubert, and Penn State cannot even point out that Survey Two
    was admitted by this Court under the Daubert standard.
127
    Docs. 231, 232.

                                              34
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opinions at trial and, even if such testimony were proper, its relevance would be

significantly outweighed by undue prejudice, the risk of confusing the issues, and

wasting time.128 Notably, during his deposition Hartvigson provided testimony that

touched on: whether certain images were in the public domain; whether images were

ornamental, merely descriptive, or used in a non-trademarked manner; whether

Vintage Brand was required to obtain permission to use certain images or text; and

that the collegiate sports licensing industry may violate antitrust laws.129

       Vintage Brand responds that this Court has already held that much of the

disputed testimony from Hartvigson is relevant to the issue of willfulness, which is

in dispute in this case, and Hartvigson must be permitted to testify to his

understandings of these matters, even though he cannot offer a legal opinion. 130

Specifically, Vintage Brand argues that Hartvigson may properly testify as to (1) his

personal understanding of whether images are in the public domain, (2) how images

are selected by Vintage Brand, (3) whether Vintage Brand intended to use images as

a trademark or ornamentally, (4) his beliefs about whether permission was required

from Penn State to use those images, and (5) his personal knowledge about obtaining

a license from universities the or Collegiate Licensing Company’s level of control

in the process.131


128
    Doc. 232.
129
    Id.
130
    Doc. 244 at 3-5.
131
    Id. at 7-8.

                                          35
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       To start, the parties agree on a fundamental fact: Hartvigson (and any other

witness) may not testify as to what the law is or what it requires.132 Likewise, it

appears that the parties agree Hartvigson may testify as to his personal belief that

Vintage Brand was not violating the law through its actions.133 The only real dispute

seems to center on how far Hartvigson (and any other witness) may go in explaining

those personal beliefs.

       Hartvigson 134 may testify as to his personal belief regarding many of the

topics addressed by the parties, including what he was legally required to do,

because, as this Court has previously held, those beliefs are germane to his intent

and potential willfulness, or lack thereof. 135 However, such testimony many not

cross the line into topics such as what legal advice Hartvigson received or what the

law may require.136 Even Hartvigson’s testimony regarding his personal beliefs must


132
    See Doc. 232 at 6-7; Doc. 244 at 4, 7-8.
133
    See Doc. 254 at 6 (“Hartvigson can testify that he believed that his conduct did not violate
    Penn State’s rights, and the jury can assess his credibility in making that statement”).
134
    The Court addresses this testimony as applied to Hartvigson because the parties focus on his
    testimony, but this holding applies to all witnesses who may be called by Vintage Brand.
135
    Doc. 194 at 46, 49.
136
    Cf. United States v. Leo, 941 F.2d 181, 196-97 (3d Cir. 1991) (noting that “[w]hile it is not
    permissible for a witness to testify as to the governing law since it is the district court’s duty
    to explain the law to the jury, our Court has allowed expert testimony concerning business
    customs and practices” and holding the “testimony was relevant both to explain the practice of
    the industry in which this prosecution arose and to establish what someone with [the
    defendant’s] extended background in the industry probably would know”); Exoto Inc. v.
    Sunrich Co., LLC, No. 221CV03754MEMFJEMX, 2022 WL 20650232, at *8 (C.D. Cal. Mar.
    29, 2022) (permitting “testimony about industry practice based upon [the witness’] perception
    of the law”); Lebanon Farms Disposal, Inc. v. Cnty. of Lebanon, No. 1:CV-03-0682, 2006 WL
    8449786, at *3 (M.D. Pa. July 5, 2006) (witness may testify to “his understanding regarding
    [a company’s] obligations under” the law but may not testify “to the language and meaning of
    statutes at issue in this action”).

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be circumscribed since he cannot testify that his belief is based on the advice of

counsel, as the Court has barred any testimony regarding the reliance on advice of

counsel.

         The Court recognizes that this creates a fine line and Vintage Brand will have

to tread carefully at trial. There are certain lines of inquiry and answers that may be

acceptable. For example, Hartvigson may properly testify “I didn’t believe anything

we used related to Penn State was a trademark or was used as a trademark,” or “I

believed every image we used was in the public domain and therefore fair game to

use,” or “based on my understanding of the law I thought these images were in the

public domain and could be freely used.”137 Testimony would impermissibly stray

into legal discussions and conclusions if he instead testified, for example, “I asked

my lawyer whether these images were trademarked and was told no,” or “I

researched how to determine if images were in the public domain and discovered

that these images were in the public domain and could be used without issue.”

         Given the fine line that must be walked, the Court expects some disagreement

at the time of trial and will handle any issues as they arise. In light of the above

discussion, Penn State’s motion in limine will be granted to the extent that

Hartvigson and any other witnesses will be prohibited from providing legal




137
      Of course, as discussed below, fertile ground for cross examination would then exist because
      the concept of the public domain does not protect Vintage Brand’s conduct here.

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testimony, but may testify at to their beliefs about the law and whether they

intentionally infringed on any alleged trademarks.

               5.      Evidence Related to Copyright Law

       Penn State also argues that Vintage Brand should be prohibited from

introducing any evidence related to copyright law—specifically, the concept of the

public domain. 138 First, it contends that such evidence is irrelevant, since Penn

State’s claims turn only on whether they hold valid trademarks and whether Vintage

Brand used those marks in a manner likely to confuse consumers, while facts related

to the public domain—a different form of intellectual property—have no bearing on

that analysis.139

       Second, Penn State asserts that Vintage Brand has no admissible evidence in

support of their claim that any images were within the public domain, since

Hartvigson has no actual knowledge of whether any images were in the public

domain and cannot testify as to the requirements of copyright law. 140 Moreover,

testimony related to copyright law would be speculative and constitute hearsay.141

Third, Penn State argues that permitting the introduction of such evidence would

unduly prejudice it, confuse and mislead the jury, and waste time since it would




138
    Docs. 233, 234.
139
    Doc. 234 at 4-6.
140
    Id. at 6-11.
141
    Id. at 10-11.

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muddle various areas of the law and would force Penn State to put forth evidence

attempting to rebut any public domain argument.142

       Vintage Brand in turn argues that the motion should be denied because, in

part, Penn State is improperly using a motion in limine to dispose of Vintage Brand’s

seventeenth affirmative defense,143 which it argues is instead properly raised in a

motion for summary judgment, as it is dispositive of a portion of Vintage Brand’s

defense. 144 Moreover, evidence that certain images are in the public domain is

relevant to the seventeenth affirmative defense, as the Supreme Court of the United

States has held that trademark law should not be read to conflict with copyright

law.145 Further, that evidence is, according to Vintage Brand, relevant to whether

any infringement was willful.146

       Vintage Brand also asserts that it has competent evidence that certain images

were in the public domain, including Hartvigson’s testimony about the criteria that

he uses when searching for historical memorabilia, and the fact that dates are

included on many pieces of memorabilia.147




142
    Id. at 11-13.
143
    That affirmative defense asserts that “Penn State’s claims are barred and/or limited because
    the historic images reproduced by Vintage Brand and applied to merchandise are works in the
    public domain.” Doc. 72 at 42.
144
    Doc. 245 at 9-11.
145
    Id. at 11-15.
146
    Id. at 16-17.
147
    Id. at 17-22.

                                              39
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       The circumstances of this case present a difficult, and so far largely

unexplored, intersection between trademark law and copyright law. Both legal

concepts seek to protect the work of an individual or company from copying by

others. But there are two primary differences between these legal concepts. One is

their duration: “copyright law bestow[s] limited periods of protection, but trademark

rights can be forever.”148 That distinction is not accidental, as the “Copyright and

Patent Clause of the Constitution, Art. I, § 8, cl. 8, provides as to copyrights [that

they shall be] for limited Times.” 149 “The right to copy, and to copy without

attribution, once a copyright has expired . . . passes to the public.”150

       The other distinction is their intended purpose. As to copyright law:

       the limited grant [of protection] is a means by which an important
       public purpose may be achieved. It is intended to motivate the creative
       activity of authors and inventors by the provision of a special reward,
       and to allow the public access to the products of their genius after the
       limited period of exclusive control has expired.151

“The rights of a patentee or copyright holder are part of a carefully crafted bargain

under which, once the patent or copyright monopoly has expired, the public may use

the invention or work at will and without attribution.”152




148
    Yurman Design, Inc. v. PAJ, Inc., 262 F.3d 101, 115 (2d Cir. 2001).
149
    Eldred v. Ashcroft, 537 U.S. 186, 192-93 (2003).
150
    Dastar Corp. v. Twentieth Century Fox Film Corp., 539 U.S. 23, 33 (2003).
151
    Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 429 (1984).
152
    Dastar, 539 U.S. at 33-34 (internal citations and quotation marks omitted). This is generally
    referred to as the “public domain.”

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       In contrast, “[t]he Lanham Act,” [the Supreme Court has] said, does not exist

to reward manufacturers for their innovation in creating a particular device; that is

the purpose of the patent law and its period of exclusivity.”153 As the Supreme Court

has explained:

       Federal trademark law has no necessary relation to invention or
       discovery, but rather, by preventing competitors from copying a source-
       identifying mark, reduces the customer’s costs of shopping and making
       purchasing decisions, and helps assure a producer that it (and not an
       imitating competitor) will reap the financial, reputation-related rewards
       associated with a desirable product.154

       These conflicting priorities and periods of protection can sometimes create

problematic overlaps—an issue that the Supreme Court touched upon in its decision

in Dastar Corporation v. Twentieth Century Fox Film Corporation. 155 There, a

company named Doubleday had published a book about General Dwight D.

Eisenhower’s experience in World War II; Twentieth Century Fox later acquired the

rights to that book and created a television series based upon it—a series for which

Fox received copyright protections. 156 Doubleday renewed its copyright in the

underlying book, but Fox did not renew its rights in the series, “leaving the television

series in the public domain.”157




153
    Id. at 34 (internal quotation marks omitted).
154
    Id. (brackets, internal citations, and quotation marks omitted).
155
    539 U.S. 23 (2003).
156
    Id. at 25-26.
157
    Id. at 26.

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        Fox later reacquired the rights to the television series and granted exclusive

rights to New Line Home Video, Inc. to distribute that series on videotape.158 Dastar

thereafter “purchased eight beta cam tapes of the original version of the Crusade

television series, which is in the public domain, copied them, and then edited the

series” before selling that as its own product. 159 Fox sued Dastar under both

copyright law and trademark law.160 The Supreme Court was called upon to answer

the question of whether the word “origin” as used in the Lanham Act’s prohibition

against using “a false designation of origin, or any false description or

representation” in connection with “any goods or services” refers “only to the

manufacturer or producer of the physical ‘goods’ that are made available to the

public” or instead “includes the creator of the underlying work” that was copied.161

        That issue, of course, is not directly relevant to this case. However, in

resolving that question and concluding that “origin” refers to the origin of physical

goods rather than the underlying work itself, the Supreme Court used fairly broad

language in describing the interaction between copyright (and patent) law and

trademark law. That court explained that, upon the expiration of a copyright, the

subject passes into the public domain and essentially belongs to the public, which




158
    Id.
159
    Id. See id. at 26-27.
160
    Id. at 27.
161
    Id. at 31.

                                          42
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has an unfettered right to copy that material without attribution. 162 Extending

trademark law to cover “communicative products” that have fallen into the public

domain “would create a species of mutant copyright law that limits the public’s

federal right to copy and to use expired copyrights.”163

       The failure to delineate between the two areas of the law would, in the

Supreme Court’s estimation, “be akin to finding that § 43(a) [of the Lanham Act]

created a species of perpetual patent and copyright, which Congress may not do.”164

That broad language is somewhat undercut, however, by the Supreme Court’s

statement that Fox’s trademark “claim would undoubtedly be sustained if Dastar had

bought some of New Line’s Crusade videotapes and merely repackaged them as its

own,”165 and its assertion that Fox could potentially bring a false advertising claim

under the Lanham Act if Dastar had “substantially copied the Crusade series [and]

were, in advertising or promotion, to give purchasers the impression that the video

was quite different from that series.”166

       Courts and commentators have struggled in the decades since Dastar to

determine the exact scope of that decision.167 Since that opinion issued, only one



162
    Id. at 33-34.
163
    Id. (internal quotation marks omitted).
164
    Id. at 37.
165
    Id. at 31.
166
    Id. at 38.
167
    See, e.g., Mark P. McKenna, Dastar’s Next Stand, 19 J. Intell. Prop. L. 357, 362 (2012)
    (observing that “Dastar’s reach remains unclear, largely because of the case’s relatively unique
    factual context”).

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court has attempted to apply Dastar broadly to issues such as that which currently

confronts this Court. 168 In Fleischer Studios, Inc. v. A.V.E.L.A., Inc., the United

States Court of Appeals for the Ninth Circuit assessed the validity of a trademark

claim that sought to limit the use of the Betty Boop cartoon character (of all things)

on products—in that case on vintage posters that featured the Betty Boop

character—despite the fact that the character had entered the public domain.169

       The Ninth Circuit held, in part, that if it “ruled that A.V.E.L.A.’s depictions

of Betty Boop infringed Fleischer’s trademarks, the Betty Boop character would

essentially never enter the public domain. Such a result would run directly contrary

to Dastar.”170 But that opinion was quickly withdrawn by the panel171 after, as one

commentator described, an “uproar of the entertainment industry, trademark owners,

and intellectual property lawyers . . . on the basis that the court had overly expanded

Dastar.”172

       Given the context in which it arose, Dastar is not analogous to the matter

before this Court, and does not directly answer the question of whether something


168
    The cases to which Penn State cites are inapposite, as those cases involved defendants seeking
    to invoke their own copyrights as a shield—a proposition that was rightly rejected by those
    courts because “a copyright is not a ‘right’ to use: it is a right to exclude others from using the
    copyrighted work.” E.g., Univ. of Ala. Bd. of Trustees v. New Life Art, Inc., 683 F.3d 1266,
    1280 (11th Cir. 2012).
169
    636 F.3d 1115, 1117-18 (9th Cir.), opinion withdrawn and superseded on denial of reh’g, 654
    F.3d 958 (9th Cir. 2011).
170
    Id. at 1124.
171
    Fleischer Studios, Inc. v. A.V.E.L.A., Inc., 654 F.3d 958, 960 (9th Cir. 2011).
172
    Irene Calboli, Overlapping Trademark and Copyright Protection: A Call for Concern and
    Action, 2014 U. Ill. L. Rev. Slip Opinions 25, 32 (2014).

                                                  44
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that has fallen into the public domain cannot be protected under trademark law in

any circumstance. Nor is the Ninth Circuit’s decision in Fleischer helpful, as that

opinion was withdrawn and, in any event, is not binding on this Court or thoroughly

reasoned, with the entirety of the application of Dastar coming in one paragraph.

       Despite the confusion surrounding the scope of Dastar, in attempting to define

its scope and application this Court need not read beyond the opinion itself to reject

the absolutist positions seemingly staked out by the parties in this case. After all,

Penn State cannot be correct that “[l]iability (or defenses against liability) for one

type of intellectual property does not prove or disprove liability (or defenses) for a

different type of intellectual property” 173 when the Supreme Court explicitly

concluded otherwise in Dastar, albeit in a different context.174 Neither, however, can

Vintage Brand be correct that a trademark claim cannot apply to an image that has

entered the public domain,175 or else the Supreme Court in Dastar would not have

embraced at least certain species of trademark claims against the use of items in the

public domain.176


173
    Doc. 234 at 5.
174
    See Dastar, 539 U.S. at 34 (“allowing a cause of action under § 43(a) for that representation
    would create a species of mutant copyright law that limits the public’s federal right to copy
    and to use expired copyrights” (internal quotation marks omitted)).
175
    Doc. 245 at 11-15.
176
    See Dastar, 539 U.S. at 34 (“If . . . the producer of a video that substantially copied the Crusade
    series were, in advertising or promotion, to give purchasers the impression that the video was
    quite different from that series, then one or more of the respondents might have a cause of
    action—not for reverse passing off under the ‘confusion . . . as to the origin’ provision of
    § 43(a)(1)(A), but for misrepresentation under the ‘misrepresents the nature, characteristics or
    qualities’ provision of § 43(a)(1)(B)” (brackets omitted)). See also Kathryn M. Foley,

                                                  45
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       Rather, in reviewing the Dastar opinion, it is clear that a path between these

extremes is necessary to ensure that the policy concerns of each of these oft-

overlapping legal fields (trademark law and copyright law) do not undermine the

primary concern of the other. Consequently, in defining the scope of that middle

path based on Dastar’s application, the Court finds instructive the underlying

purpose of each area of the law.

       As the Supreme Court has explained, the Constitution itself provides for

copyrights and “describes the basic Clause objective as one of promoting the

Progress of Science, i.e., knowledge and learning. The Clause exists not to provide

a special private benefit, but to stimulate artistic creativity for the general public

good.”177

       It does so by motivating the creative activity of authors through the
       provision of a special reward. The reward is a means, not an end. And
       that is why the copyright term is limited. It is limited so that its
       beneficiaries—the public—will not be permanently deprived of the
       fruits of an artist’s labors.178




    Protecting Fictional Characters: Defining the Elusive Trademark-Copyright Divide, 41 Conn.
    L. Rev. 921, 959 (2009) (“Dastar did clarify that upon expiration of a copyright term, there
    exists an absolute right to copy the work without any identification of its creative source. This
    proposition will likely be cited by future defendants who copy public domain characters
    without authorization. Nonetheless, this over-simplified line of argument will fail as Dastar
    did not object to the mere possibility of copyright and trademark protection, but only to the
    granting of improper protection” (footnotes omitted)).
177
    Eldred v. Ashcroft, 537 U.S. 186, 245 (2003) (brackets, internal citations, and internal
    quotation marks omitted).
178
    Id. at 245-46 (brackets, internal citations, and internal quotation marks omitted).

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Under copyright law then, any “reward to the owner [is] a secondary

consideration.”179 Copyright law’s primary objective is “to allow the public access

to the products of [authors’ and investors’] genius after the limited period of

exclusive control has expired.”180

       In contrast, as summarized by the Supreme Court in Dastar, trademark law

“reduces the customer’s costs of shopping and making purchasing decisions, and

helps assure a producer that it (and not an imitating competitor) will reap the

financial, reputation-related rewards associated with a desirable product.”181 In line

with that purpose, the Supreme Court “has recognized that ‘[n]ational protection of

trademarks is desirable because trademarks foster competition and the maintenance

of quality by securing to the producer the benefits of good reputation.’”182 In contrast

with copyright law then, while trademark law provides benefits to consumers,

historically the law “of trademark infringement ‘was concerned primarily with

wrongful conduct in commercial enterprises which resulted in business loss to

another, ordinarily by the use of unfair means in drawing away customers from a

competitor.’”183


179
    Mazer v. Stein, 347 U.S. 201, 219 (1954).
180
    Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 429 (1984).
181
    Dastar, 539 U.S. at 34 (brackets, internal citations, and quotation marks omitted).
182
    S.F. Arts & Athletics, Inc. v. U.S. Olympic Comm., 483 U.S. 522, 531 (1987) (quoting Park
    ’N Fly, Inc. v. Dollar Park and Fly, Inc., 469 U.S. 189, 198 (1985) (brackets and ellipsis
    omitted)).
183
    Halicki v. Carroll Shelby Int’l, Inc., No. CV048813SJOPJWX, 2006 WL 8447777, at *6
    (C.D. Cal. Apr. 28, 2006) (quoting People ex rel. Mosk v. National Research Co., 201 Cal.
    App. 2d 765, 770 (1962)).

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       This is emphasized by what the Supreme Court has identified as the zone of

interests protected by the Lanham Act. Specifically, the Lanham Act protects:

       [against] the deceptive and misleading use of marks in . . . commerce;
       . . . registered marks used in such commerce from interference by State,
       or territorial legislation; . . . persons engaged in such commerce against
       unfair competition; [against] fraud and deception in such commerce by
       the use of reproductions, copies, counterfeits, or colorable imitations of
       registered marks . . .184

That zone of interests generally protects against “injury to a commercial interest in

reputation or sales.”185

       Attempting to navigate these concerns leaves courts balancing on a razor’s

edge. On one side, failing to read copyright law’s concept of the public domain into

cases involving trademark claims could potentially grant perpetual copyright

protection to images solely by virtue of the fact that those images may contain a

trademark.186 On the other side, interpreting the public domain portion of copyright

law as prohibiting a trademark claim would potentially permit companies to violate



184
    Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 131 (2014) (quoting 15
    U.S.C. § 1127).
185
    Id. at 131-32.
186
    See Calboli, supra, at 30 (“the impact of overlapping copyright and trademark protection can
    easily degenerate into a mutant right capable of distorting the copyright equilibrium and
    severely impairing the public’s ability to freely copy, adapt, distribute, and show works after
    their copyright has expired. This, in turn, should be prevented, as overlapping trademark rights
    can result in severely impacting society’s creativity. In particular, freedom to copy is crucial
    to incremental advances in new creative works (as many copyright intensive industries know)
    and trademark protection in these works can severely impact this freedom. Moreover, access
    to knowledge can also be put at risk by overlapping protection, in that creative works would
    effectively not be available as part of the public domain after the expiration of the copyright
    term” (footnote and internal quotation marks omitted)).

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the trademarks of another in a way that is calculated to confuse consumers without

leaving a method of recourse for the trademark owner—for example, if Pepsi Cola

prominently used on its packaging an old Coca Cola image that had fallen into the

public domain to falsely imply that its products were Coca Cola products, or vice

versa.

         But by accounting for the primary purpose of each legal sphere, a test may be

devised that largely avoids these twin harms, at least with respect to the societal

benefits with which each area of the law is largely concerned. The key distinction in

determining whether an image in the public domain may be subject to a trademark

claim is, therefore, whether application of the public domain would implicate or

undermine the primary concerns of each area of the law.

         If a defendant’s use of a trademark-containing-image that has fallen into the

public domain is used for a creative purpose, then trademark law may not be applied,

or else courts would undermine the “carefully crafted bargain” that permits the

public to build upon the genius of the past and move our society forward in positive

ways.187 Failing to account for the purpose of copyright law and the public domain

in such circumstances would “undermine the policy of encouraging competition in

using material in the public domain and allowing new authors to build upon the




187
      Dastar, 539 U.S. at 33 (internal quotation marks omitted).

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creativity of the past.”188 But if an image that bears a trademark is within the public

domain, but is being used for purely commercial—as opposed to creative—

purposes, then trademark law may be applied to its use; otherwise courts would

undermine the purpose of trademark law in ensuring that companies reap the benefits

associated with its products and reputation. Under this test, the creative expression

meant to be fostered by copyright law remains largely, if not entirely, unimpeded by

the application of trademark law, while the benefits that companies and individuals

derive from their goodwill remain intact under trademark law.

       This is in accord with other decisions related to the application of the Lanham

Act to copyright cases. For example, in a pre-Dastar case, Comedy III Productions,

Inc. v. New Line Cinema, the Ninth Circuit assessed whether the plaintiff could

sustain a cause of action under the Lanham Act when the defendant had created a

film and, as part of the film, included in the background a thirty second clip of The

Three Stooges that was in the public domain. 189 The plaintiff sued, claiming a

trademark in “the name, the characters, the likeness, and overall act of The Three

Stooges.”190

       The Ninth Circuit concluded that the clip was not a trademark, reasoning that

it was plainly covered by copyright law and if “material covered by copyright law


188
    Leslie A. Kurtz, The Independent Legal Lives of Fictional Characters, 1986 Wis. L. Rev. 429,
    517 (1986).
189
    200 F.3d 593, 594 (9th Cir. 2000).
190
    Id. at 595 (internal quotation marks omitted).

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has passed into the public domain, it cannot then be protected by the Lanham Act

without rendering the Copyright Act a nullity.”191 But in reaching that conclusion,

the Ninth Circuit was careful to note that the clip in question was not used in a

“purely commercial vehicle” and the defendant did not “in its use of the clip, create

simulacra of The Three Stooges to sell a product” as had a company in a previous

case in which the Ninth Circuit found trademark infringement.192 The Ninth Circuit

therefore rested its holding on the commercial nature, or lack thereof, of the alleged

infringing use: had the defendant “used the likeness of The Three Stooges on t-shirts

which it was selling, [the plaintiff] might have an arguable claim for trademark

violation.”193

        Applying the creative/commercial test here, Vintage Brand cannot present

evidence that the images it used were in the public domain. Its conduct here was

wholly commercial in nature—it took images that were allegedly in the public

domain and put them on products to sell, such as t-shirts, hats, mugs, and other

physical merchandise. Applying copyright law would not further the goals of

fostering creative expression but could potentially impair trademark law’s goal of

helping companies reap the financial and reputational-related awards associated with

their product.



191
    Id.
192
    Id. at 596.
193
    Id.

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       The Court further rejects Vintage Brand’s contention that Penn State’s motion

improperly seeks to dispose of an affirmative defense. 194 As Vintage Brand

acknowledges, a motion in limine may appropriately dispose of an affirmative

defense if that defense “is completely untenable as a matter of law.”195 Here, the

commercial nature of Vintage Brand’s use of the underlying images renders its

defense related to the public domain untenable, and it is appropriate to address this

issue through a motion in limine.196 Consequently, the Court will grant Penn State’s

motion in limine, and Vintage Brand will be prohibited from presenting evidence

that the images it used were in the public domain.197

               6.      Evidence Related to Antitrust Issues

       Next, Penn State contends that Vintage Brand cannot properly present

evidence related to antitrust concerns.198 Penn State notes that no court has ever

refused to enforce a trademark because it was used in violation of antitrust law and

argues that Vintage Brand has no admissible evidence that could establish an


194
    Doc. 245 at 9-11.
195
    Id. at 9 n.2 (citing Cleveland Bros. Equip. Co., Inc. v. Vorobey, 655 F. Supp. 3d 305, 326 (M.D.
    Pa. 2023)).
196
    Vintage Brand also argues that its affirmative defense may proceed because Penn State is
    attempting to apply trademark law to the images in question, not the physical goods bearing
    those images, which is—according to Vintage Brand—barred by Dastar. Doc. 245 at 14-15.
    But Dastar reached its conclusion in the context of a claim for false endorsement under § 43(a).
    Dastar, 539 U.S. at 34. This Court has already disposed of Penn State’s false endorsement
    claim, and Dastar’s direct holding is therefore not applicable here. Doc. 194 at 87-91.
197
    Testimony as to Hartvigson’s belief that the images were in the public domain and therefore
    could be used without violating trademark law is, however, relevant to the issue of willfulness,
    as this Court previously ruled. Doc. 194 at 46.
198
    Docs. 235, 236.

                                                52
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antitrust claim, rendering irrelevant evidence related to antitrust law. 199 Even if

relevant, Penn State asserts that any relevance is significantly outweighed by the

danger of undue prejudice, confusing or misleading the jury, and wasting time.200

       Vintage Brand argues, similar to its opposition to the motion addressing

copyright law, that Penn State seeks to improperly dispose of a colorable affirmative

defense in a motion in limine rather than through a motion to strike or for summary

judgment, as is more appropriate. 201 In any event, Vintage Brand states that a

trademark owner’s violation of antitrust law is a valid defense to a trademark

claim.202 Moreover, Vintage Brand maintains that it can present competent evidence

of the relevant market and issues related to the antitrust defense through

Hartvigson’s testimony, as he has “substantial personal experience and knowledge

in the collegiate fan-apparel industry.”203

       As an initial matter, the parties agree that antitrust concerns do present a valid

defense in the trademark context—they disagree, however, about whether it is a

complete defense to a trademark claim, or a defense only to the incontestability of a

trademark. 204 Their argument revolves specifically around the Lanham Act’s

provision that it is a defense if “the mark has been or is being used to violate the


199
    Doc. 236 at 4-9.
200
    Id. at 9-11.
201
    Doc. 246 at 2-4.
202
    Id. at 4-6.
203
    Id. at 13; see id. at 6-15.
204
    Compare Doc. 246 at 4-6, with Doc. 255 at 3-5.

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antitrust laws of the United States.”205 The dispute over that defense’s applicability

arises because that language is contained in the section addressing incontestable

trademarks, and therefore would appear to be a defense to incontestability only,

rather than a complete defense to trademark infringement claims.206

       Regardless of which position is correct, however, the dispute is irrelevant to

this case because Vintage Brand’s eighteenth affirmative defense is broad enough to

encompass a request that the Court invoke its equitable power to refuse to enforce

the trademarks based upon Penn State’s alleged violations of antitrust law,207 which

is a well-established power of federal courts. 208 The Court therefore finds that

Vintage Brand’s affirmative defense is legally valid.209

       This Court further rejects, as have many other courts, Penn State’s contention

that expert testimony is required to establish the foundation of an antitrust defense.210


205
    15 U.S.C. § 1115(b)(7).
206
    But see Power Test Petroleum Distributors, Inc. v. Calcu Gas, Inc., 754 F.2d 91, 95-96 (2d
    Cir. 1985) (“An antitrust tie-in claim, if proven, will constitute a defense to trademark
    infringement”).
207
    That affirmative defense states “Penn State’s claims are barred and/or limited as an
    anticompetitive, illegal restraint of trade.” Doc. 72 at 42.
208
    Cf. Helene Curtis Indus., Inc. v. Church & Dwight Co., 560 F.2d 1325, 1336 (7th Cir. 1977)
    (recognizing that “the defense of antitrust misuse is largely available to defeat the conclusive
    evidentiary force that would otherwise attach to a trademark certificate under the (Lanham)
    Act” but nevertheless recognizing “the equity power of a court to deny enforcement of a
    trademark on the part of one who has used that trademark in violation of the antitrust laws”
    (internal quotation marks omitted)).
209
    And, regardless of which party is correct, the resolution of this question has no bearing on the
    motion in limine. Whether antitrust concerns create a general defense or only a defense to
    incontestability, because a defense exists evidence related to that defense should go to a jury.
210
    See, e.g., Lantec, Inc. v. Novell, Inc., 146 F. Supp. 2d 1140, 1148 (D. Utah 2001) (“the court
    will reject the absolute rule of the Eleventh Circuit in favor of the rule of other jurisdictions.
    The absence of expert testimony on the issue of relevant market and like issues is not, per se,

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Such a rule would be particularly inappropriate within this Circuit, given the Third

Circuit’s repeated pronouncement that lay testimony may be “grounded either in

experience or specialized knowledge . . . [and,] ‘in order to be ‘helpful,’ an opinion

must be reasonably reliable,’ and Rule 701 therefore ‘requires that a lay opinion

witness have a reasonable basis grounded either in experience or specialized

knowledge for arriving at the opinion that he or she expresses.’”211 That is to say,

“when a lay witness has particularized knowledge by virtue of her experience, she

may testify—even if the subject matter is specialized or technical—because the

testimony is based upon the layperson’s personal knowledge rather than on

specialized knowledge within the scope of Rule 702.”212

        Because a lay witness may be qualified to provide specialized knowledge as

to the requirements to sustain an antitrust defense—such as the relevant geographic

or product market—the Court will not adopt a per se rule barring such a defense in

the absence of expert testimony. And here, Vintage Brand may conceivably be able

to offer such testimony. Vintage Brand asserts that it will have Hartvigson—along




    fatal to a plaintiff’s antitrust claims. In other words, expert testimony is not required, but in its
    absence a plaintiff must show by other evidence sufficient facts from which a jury could infer
    market share, market power, relevant market, monopolization, dangerous probability of
    monopolization, and the like”).
211
    United States v. Savage, 970 F.3d 217, 285-86 (3d Cir. 2020) (quoting Asplundh Mfg. Div., a
    Div. of Asplundh Tree Expert Co. v. Benton Harbor Eng’g, 57 F.3d 1190, 1201 (3d Cir. 1995)).
212
    Id. at 286 (brackets and internal quotation marks omitted).

                                                   55
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with university personnel engaged in licensing—testify to the requirements of an

antitrust claim based on their “personal experience in the market.”213

       This evidentiary assertion is sufficient basis to deny Penn State’s motion in

limine, as the evidence it seeks to exclude is not “clearly inadmissible on all potential

grounds.”214 Of course, the Court must reach this decision based upon a minimal

evidentiary record. This is a large part of the reason why motions in limine are ill-

suited as vehicles for the disposition of a claim or defense; requests to exclude a

defense are better brought in a motion for summary judgment and its accompanying

factual record, but Penn State inexplicably failed to move to dispose of the defense

in that fashion.

               7.      Aesthetic Functionality Defense

       Penn State next argues that Vintage Brand should not be allowed to support

its aesthetic functionality defense 215 with evidence of consumers’ motivation in

purchasing items or assertions that Vintage Brand must be permitted to compete with

authorized licensees. 216 First, it contends that Vintage Brand’s defense is fatally


213
    Doc. 246 at 10.
214
    Holmes v. Am. Home Patient/Lincare, No. 4:21-CV-01683, 2024 WL 1118982, at *1 (M.D.
    Pa. Mar. 14, 2024) (internal quotation marks omitted).
215
    Vintage Brand’s fifth affirmative defense reads “Penn State’s claims are barred and/or limited
    where Penn State precluding Vintage Brand’s application of the text and designs described in
    the Second Amended Complaint to merchandise would put Vintage Brand at a significant non-
    reputation-related disadvantage,” while its sixth affirmative defense asserts that “Penn State’s
    claims are barred and/or limited where the text and designs described in the Second Amended
    Complaint are essential to the use or purpose of Vintage Brand’s merchandise and/or affect the
    cost or quality of Vintage Brand’s merchandise.” Doc. 72 at 39.
216
    Docs. 237, 238.

                                                56
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flawed, as evidence “that consumers purchase Vintage Brand’s products because

they desire to express an affiliation with Penn State . . . is not relevant to any

recognized test for aesthetic functionality,” which generally examine whether

forbidding use of the feature would put others at a significant, non-reputational

disadvantage, or whether the feature is essential to the purpose or use of an item or

affects its cost or quality.217 Vintage Brand’s defense essentially relies on consumer

recognition of the Penn State trademarks, which is not an aesthetic functionality

defense.218 Because Vintage Brand’s affirmative defenses are not viable, Penn State

argues, evidence related to that defense is irrelevant and must be excluded.219

       Even if the defense were viable, Penn State contends that evidence related to

the reasons why consumers purchase Vintage Brand products would be inadmissible

as no proffered witness has personal knowledge as to why consumers buy Vintage

Brand products.220 Penn State further asserts that such evidence should be excluded

because Vintage Brand failed to properly disclose that evidence during discovery.221

       Vintage Brand argues that, again, Penn State improperly seeks a dispositive

ruling on an affirmative defense in a motion in limine rather than a motion to strike

or for summary judgment. 222 Regardless, Vintage Brand asserts, Penn State


217
    Doc. 238 at 11; see id. at 10-14.
218
    Id.
219
    Id. at 13-14.
220
    Id. at 14-17.
221
    Id. at 17-20.
222
    Doc. 247 at 7-9.

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misunderstands the doctrine of aesthetic functionality, and the proposed evidence is

relevant to such a defense.223 Specifically, reputation and recognition in the context

of aesthetic functionality means recognition or reputation as to the source of the

relevant good, not the trademark, and a mark is functional if it is used for a purpose

other than branding—such as to allow consumers to express their affiliation or

support of Penn State.224

       As to the evidence to be presented at trial, Vintage Brand points to testimony

from Penn State’s representative agreeing that individuals could express their

affiliation with Penn State by wearing apparel bearing Penn State imagery, as well

as testimony from alumna and advertising material showing that people wear Penn

State gear to affiliate themselves with Penn State.225 Vintage Brand will also provide

expert testimony that Penn State has no reputation as a source of apparel and

consumers do not believe it is responsible for the quality of products.226 Finally,

Vintage Brand contends that it properly and timely disclosed any expert opinions

and evidence upon which is relies for this affirmative defense.227

       As this Court has previously noted with regard to the doctrine of aesthetic

functionality, the Supreme Court in Qualitex Co. v. Jacobson Products Co., Inc.



223
    Id. at 9-14.
224
    Id.
225
    Id. at 15-18.
226
    Id. at 17.
227
    Id. at 18-19.

                                         58
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       explained that, in general terms, a product feature is functional, and
       cannot serve as a trademark, if it is essential to the use or purpose of the
       article or if it affects the cost or quality of the article, that is, if exclusive
       use of the feature would put competitors at a significant non-reputation-
       related disadvantage.228

The Court further noted that “‘aesthetic functionality[] mean[s] a design that

communicates the use, purpose, cost, or quality of the product in a way that

competitors cannot avoid replicating without incurring costs.’”229

       The parties here dispute the precise meaning of the Supreme Court’s holding

in Qualitex. Vintage Brand argues that “reputation and recognition in the trademark

context means reputation and recognition as a source of the relevant good—not

recognition of the mark itself,”230 while Penn State asserts that courts must account

for the overall reputation of the trademark owner.231

       The Ninth Circuit in Au-Tomotive Gold, Inc. v. Volkswagen of America, Inc.

traced the recent history of that doctrine before the Supreme Court and iterated that

the Supreme Court has “offered a simple definition of functionality: ‘a product

feature is functional if it is essential to the use or purpose of the article or if it affects

the cost or quality of the article.’”232 As explained by the Ninth Circuit, the Supreme

Court in Qualitex later “considered whether a color . . . could be protected as a


228
    Doc. 194 at 65 (quoting Qualitex Co. v. Jacobson Prod. Co., 514 U.S. 159, 165 (1995)).
229
    Id. at 66 (quoting DayCab Co., Inc. v. Prairie Tech., LLC, 67 F.4th 837, 847 (6th Cir. 2023)).
230
    Doc. 247 at 10.
231
    Doc. 256 at 3-5.
232
    Au-Tomotive Gold, Inc. v. Volkswagen of Am., Inc., 457 F.3d 1062, 1070 (9th Cir. 2006)
    (quoting Inwood Lab’ys, Inc. v. Ives Lab’ys, Inc., 456 U.S. 844, 850 n.10 (1982)).

                                               59
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trademark” and “underscored . . . that functionality protects against a competitive

disadvantage ‘unrelated to recognition or reputation’” and “because ‘the [district]

court found ‘no competitive need in the press pad industry for the green-gold color,

since other colors are equally usable,’ functionality did not defeat protection.”233

       In the Ninth Circuit’s view, a more recent Supreme Court case, TrafFix

Devices, Inc. v. Marketing Displays, Inc., 234 explained the relationship between

those two holdings.235 Qualitex did not displace the Supreme Court’s earlier decision

with respect to functionality but, instead, “‘expand[ed] upon’ the [earlier] definition,

by observing that ‘a functional feature is one the ‘exclusive use of which would put

competitors at a significant non-reputation-related disadvantage.’” 236 TrafFix

explained that if “a feature is functional under [the earlier test], the inquiry ends and

the feature cannot be protected under trademark law” whereas “in the context of

aesthetic functionality, . . . considerations [of competitive necessity and significant

non-reputation-related disadvantage] may come into play because a functional

feature is one the ‘exclusive use of [which] would put competitors at a significant

non-reputation related disadvantage.’”237 Consequently,

       After Qualitex and TrafFix, the test for functionality proceeds in two
       steps. In the first step, courts inquire whether the alleged “significant
       non-trademark function” satisfies the Inwood Laboratories definition of

233
    Id. (quoting Qualitex, 514 U.S. at 166, 169).
234
    532 U.S. 23 (2001)
235
    Au-Tomotive, 457 F.3d at 1070-71.
236
    Id. at 1071 (quoting TrafFix, 532 U.S. at 32 (brackets omitted))
237
    Id. at 1071-72 (quoting TrafFix, 532 U.S. at 32).

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       functionality—“essential to the use or purpose of the article or affects
       its cost or quality.” TrafFix, 532 U.S. at 32-33 (citing Inwood
       Laboratories, 456 U.S. at 850, n. 10). If this is the case, the inquiry is
       over—the feature is functional and not protected. TrafFix, 532 U.S. at
       33. In the case of a claim of aesthetic functionality, an alternative test
       inquires whether protection of the feature as a trademark would impose
       a significant non-reputation-related competitive disadvantage. Id.; and
       see also Qualitex, 514 U.S. at 165.238

       Of course, this review does not directly address the question of whether a

defendant may, in light of those Supreme Court decisions, maintain an aesthetic

functionality defense when its sole argument is that the trademarks are “non-

reputation-related because consumers want the images so they can express their own

affiliation with the [plaintiff], not because they believe that the [plaintiff] is a

reputable source for high-quality apparel.”239

       But the Ninth Circuit has persuasively answered that question in the

affirmative both in Au-Tomotive and other cases. As the Ninth Circuit in Au-

Tomotive—a case to which Penn State itself cites—is careful to note, the rule

espoused in Qualitex and TrafFix is no bar to the aesthetic functionality defense.

Rather, that doctrine must be applied “careful[ly] to prevent ‘the use of a trademark

to monopolize a design feature which, in itself and apart from its identification of

source, improves the usefulness or appeal of the object it adorns.’”240 Accordingly,



238
    Id. at 1072 (brackets and footnote omitted).
239
    Doc. 247 at 5.
240
    Au-Tomotive, 457 F.3d at 1073 (quoting Vuitton Et Fils S.A. v. J. Young Enterprises, Inc.,
    644 F.2d 769, 774 (9th Cir. 1981)).

                                             61
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“aesthetic functionality [is generally] limited to product features that serve an

aesthetic purpose wholly independent of any source-identifying function.”241

       That is precisely what Vintage Brand argues here: consumers do not purchase

Vintage Brand goods bearing Penn State imagery because the marks identify the

producer or sponsor of those goods but, instead, purchase those goods solely to

express their affiliation with, or support of, Penn State. That is to say, the Penn State

images used by Vintage Brand “serve an aesthetic purpose wholly independent of

any source-identifying function.”242

       The distinction between an actionable and non-actionable aesthetic

functionality defense is best exemplified by International Order of Job’s Daughters

v. Lindeburg and Co.243 There, the Ninth Circuit examined whether the doctrine of

aesthetic functionality protected the defendant’s conduct in “selling jewelry and

related items bearing the Job’s Daughters[244] insignia” despite the fact that it was

not authorized to do so, whereas other companies were so authorized.245

       The Ninth Circuit noted that “[t]rademark law does not prevent a person from

copying so-called ‘functional’ features of a product which constitute the actual

benefit that the consumer wishes to purchase, as distinguished from an assurance



241
    Id. (citing Qualitex, 514 U.S. at 166).
242
    Id.
243
    633 F.2d 912 (9th Cir. 1980).
244
    Job’s Daughters is a young women’s fraternal order.
245
    Id. at 914.

                                              62
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that a particular entity made, sponsored, or endorsed a product.” 246 It further

explained:

        It is not uncommon for a name or emblem that serves in one context as
        a collective mark or trademark also to be merchandised for its own
        intrinsic utility to consumers. We commonly identify ourselves by
        displaying emblems expressing allegiances. Our jewelry, clothing, and
        cars are emblazoned with inscriptions showing the organizations we
        belong to, the schools we attend, the landmarks we have visited, the
        sports teams we support, the beverages we imbibe. Although these
        inscriptions frequently include names and emblems that are also used
        as collective marks or trademarks, it would be naive to conclude that
        the name or emblem is desired because consumers believe that the
        product somehow originated with or was sponsored by the organization
        the name or emblem signifies.247

That court went on to conclude

        that Lindeburg was not using the Job’s Daughters name and emblem as
        trademarks. The insignia were a prominent feature of each item so as to
        be visible to others when worn, allowing the wearer to publicly express
        her allegiance to the organization. Lindeburg never designated the
        merchandise as “official” Job’s Daughters’ merchandise or otherwise
        affirmatively indicated sponsorship. Job’s Daughters did not show a
        single instance in which a customer was misled about the origin,
        sponsorship, or endorsement of Lindeburg’s jewelry, nor that it
        received any complaints about Lindeburg’s wares. Finally, there was
        evidence that many other jewelers sold unlicensed Job’s Daughters
        jewelry, implying that consumers did not ordinarily purchase their
        fraternal jewelry from only “official” sources. We conclude that Job’s
        Daughters did not meet its burden of proving that a typical buyer of
        Lindeburg’s merchandise would think that the jewelry was produced,
        sponsored, or endorsed by the organization. The name and emblem
        were functional aesthetic components of the product, not trademarks.
        There could be, therefore, no infringement.248


246
    Id. at 917.
247
    Id. at 918.
248
    Id. at 920.

                                          63
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Although this decision is somewhat aged and has since been narrowed in scope, “the

case remains good law.”249

       Imagery, even if it is trademarked and is the reason why consumers purchase

a product, is subject to the aesthetic functionality defense so long as there is

sufficient evidence that the images serve an aesthetic purpose wholly independent

of any source-identifying function. In such circumstances the producer or sponsor

of the goods would be of no consequence to consumers and, as the Supreme Court

observed in Dastar, “[t]he words of the Lanham Act should not be stretched to cover

matters that are typically of no consequence to purchasers.”250

       The Court therefore concludes that Vintage Brand has proffered a legally

sound affirmative defense in the form of aesthetic functionality. This is not to say

that Vintage Brand will have an easy task of establishing this defense at trial. As the

Ninth Circuit emphasized in Au-Tomotive:

       It is difficult to extrapolate from cases involving a true aesthetically
       functional feature, like a box shape or certain uses of color, to cases
       involving well-known registered logos and company names, which
       generally have no function apart from their association with the
       trademark holder. The present case illustrates the point well, as the use
       of Volkswagen and Audi’s marks is neither aesthetic nor independent
       of source identification. That is to say, there is no evidence that
       consumers buy Auto Gold’s products solely because of their “intrinsic”
       aesthetic appeal. Instead, the alleged aesthetic function is



249
    LTTB LLC v. Redbubble, Inc., 840 F. App’x 148, 150 (9th Cir. 2021) (quoting Au-Tomotive,
    457 F.3d at 1069).
250
    Dastar, 539 U.S. at 32-33.

                                            64
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       indistinguishable from and tied to the mark’s source-identifying
       nature.251

But because “aesthetic function and branding success can sometimes be difficult to

distinguish, the aesthetic functionality analysis is highly fact-specific,”252 and this

issue should be submitted to the jury if Vintage Brand has evidence to support its

defense.

       Contrary to Penn State’s assertion, the Court finds that Vintage Brand has

produced sufficient evidence to support an aesthetic functionality defense—

although just barely. The testimony of Penn State’s Rule 30(b)(6) representative and,

critically, statements from a Penn State alumna that she wears Penn State gear to

football games to show “school spirit” and show that she is “part of the same crowd

that’s rooting for this team,”253 combined with expert testimony that consumers do

not necessarily associate Penn State with the quality of products bearing its

trademarks,254 creates a sufficient basis upon which to send this issue to the jury.

       As to Penn State’s argument that any evidence related to the aesthetic

functionality defense should be excluded pursuant to Federal Rule of Civil

Procedure 37(c)(1) for failure to provide required discovery, the Court sees no basis




251
    Au-Tomotive, 457 F.3d at 1073-74.
252
    Christian Louboutin S.A. v. Yves Saint Laurent Am. Holdings, Inc., 696 F.3d 206, 222 (2d
    Cir. 2012).
253
    Doc. 247-2 at 6.
254
    See Doc. 247 at 15-18.

                                            65
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upon which to exclude said evidence at this late stage255 in the proceedings.256 Penn

State was certainly made aware of the proposed expert testimony and knew, or

should have known, the general testimony that its own witnesses would provide.257

       Accordingly, the Court finds no reason to exclude Vintage Brand from

presenting evidence related to its aesthetic functionality affirmative defense. Penn

State’s motion in limine will therefore be denied.

               8.     First Amendment and Dismissed Claims

       In its final motion in limine, Penn State seeks to exclude evidence that its

claims are limited in any way by the First Amendment to the United States

Constitution, as well as any reference to claims or defenses that have been dismissed

or removed from the case by amended pleadings or answers.258 Vintage Brand does

not contest this motion,259 and it therefore will be granted.

       C.      Penn State’s Motion to Strike

       Finally, Penn State seeks to strike Vintage Brand’s aesthetic functionality

affirmative defense. 260 First, Penn State argues that Penn State’s use of the

trademarks in a functional manner is not a proper aesthetic functionality defense,



255
    It is difficult to understand why, as with many of the present motions in limine, this was not
    raised at an earlier opportunity.
256
    Doc. 238 at 17-20.
257
    Of course, Vintage Brand’s experts may not stray beyond the bounds of what was disclosed in
    their expert reports.
258
    Doc. 239.
259
    Id.
260
    Docs. 225, 226.

                                               66
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which instead focuses on whether the trademark itself is functional.261 Second, Penn

State contends that any functionality must be unrelated to the recognition or

reputation of the mark holder.262 Finally, Penn State asserts that use of a trademark

to attract fans is not protected by the doctrine of aesthetic functionality.263

       Vintage Brand claims that Penn State improperly seeks to file a dispositive

motion more than one year after the deadline without leave of the Court or good

cause.264 It further argues that, in any event, the motion fails on the merits.265 First,

trademarks are properly subject to the aesthetic functionality defense when

consumers purchase the challenged features for reasons independent of source

identification.266 Second, Vintage Brand asserts that a feature is functional if it is

useful for anything beyond branding, which it avers is the case here.267 Finally, it

maintains that reputation for trademark purposes refers only to reputation as to the

source of the relevant goods, and here Penn State has no reputation as a source for

goods.268

       Despite the incredibly late nature of Penn State’s motion, the Court need not

determine whether Penn State’s motion is an improper dispositive motion because,



261
    Doc. 226 at 11-14.
262
    Id. at 14-19.
263
    Id. at 19-21.
264
    Doc. 248 at 6-12.
265
    Id. at 12-25.
266
    Id. at 12-16.
267
    Id. at 16-21.
268
    Id. at 21-25.

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for the reasons explicated above as to Penn State’s motion in limine to prohibit

evidence of aesthetic functionality, Vintage Brand has adequately stated an

affirmative defense under that doctrine. As discussed previously, the aesthetic

functionality defense applies “to product features that serve an aesthetic purpose

wholly independent of any source-identifying function.”269

       Although that quote comes from a Ninth Circuit decision, that definition is

not unique to the Ninth Circuit. 270 To the contrary, the Third Circuit has stated

plainly that a “design is functional if it is useful for anything beyond branding” and

the functionality analysis must focus on whether the trademark or dress “only

advanced the brand.”271 So too has the Supreme Court observed that the aesthetic

functionality defense applies if the disputed feature serves a “significant

nontrademark function” such as identifying the type of medicine involved or simply

satisfying “the noble instinct for giving the right touch of beauty to common and

necessary things.”272 Much as the Third Circuit has concluded that a watermelon-

colored wedge shape is functional because it serves to identify the flavor of a




269
    Au-Tomotive, 457 F.3d at 1073.
270
    Penn State’s assertion that the Third Circuit has rejected the reasoning behind cases such as
    Au-Tomotive reads too much into Keene Corp. v. Paraflex Indus., Inc., 653 F.2d 822 (3d Cir.
    1981). The Third Circuit there rejected the Ninth Circuit’s decisions to the extent that they
    “define[] aesthetic functionality in terms of consumer acceptance.” Id. at 825. But the question
    of consumer acceptance was not at issue in Job’s Daughters or Au-Tomotive.
271
    PIM Brands Inc. v. Haribo of Am. Inc., 81 F.4th 317, 321, 322 (3d Cir. 2023).
272
    Qualitex, 514 U.S. at 170 (internal quotation marks omitted).

                                                68
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candy, 273 so too could a jury decide here that the images in question serve a

functional purpose outside of “the mark’s source-identifying nature.”274

       As to Penn State’s assertion that functionality must be assessed solely as

defined by the trademark owner,275 there is no case in the Third Circuit that has

explicitly so held. And, in any event, whether functionality is defined by the plaintiff

or by the defendant’s actual use is a distinction without a difference, since either

method leads to the same question: whether the trademarks as used on physical

goods are functional or, instead, source identifying. When viewed in that light,

whether the disputed images are source identifying as defined by Penn State or as

used on Vintage Brand’s goods is immaterial. In either case, they either identify

Penn State as the source or sponsor of the goods or they do not.

       In sum, the Court concludes that Vintage Brand has presented a legally viable

defense in the form of aesthetic functionality. Penn State’s motion to strike will

therefore be denied.




273
    Id. at 322-23.
274
    Au-Tomotive, 457 F.3d at 1074.
275
    Doc. 226 at 13-14; Doc. 258 at 9-12.

                                            69
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III.    CONCLUSION

        In accordance with the above discussion, the motions in limine will be granted

in part and denied in part, and the motion to strike will be denied.

        An appropriate Order follows.

                                               BY THE COURT:


                                               s/ Matthew W. Brann
                                               Matthew W. Brann
                                               Chief United States District Judge




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